                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

NATURAL DOG ACQUISITION LLC,                         )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )           Civil Action No. 3:22-cv-00697-GCM
                                                     )
PET GO ROUND OF GREENSBORO,                          )
                                                     )
       Defendant.                                    )
                                                     )

        This matter is before the Court upon Plaintiff’s Motion to Defer Pursuant to Rule 56(d) or

 Motion for Extension of Time. (Doc. No. 35). Specifically, Plaintiff requests that the Court defer

 ruling on the Defendant’s Motion for Summary Judgment until after the discovery completion

 deadline and allow Plaintiff an extension of time to respond to the Motion for Summary

 Judgment. For good cause shown,

        IT IS THEREFORE ORDERED that Plaintiff’s Motion is hereby GRANTED, and

 Defendant may supplement its Motion for Summary Judgment until February 14, 2025. Plaintiff

 shall have until February 28, 2025, to file a response to Defendant’s Motion for Summary

 Judgment regardless of whether Defendant files a supplement.
                                       Signed: January 9, 2025




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